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THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
DON LIPPERT, et al., )
1 Plaintiffs, § 10 C 4603
vs. , § Honorable Jorge L. Alonso
JOHN BALDWIN, et. al., §
Defendants. §

EMERGENCY MOTION TO CONTINUE TRIAL

The State Defendants, by and through their counsel, Illinois Attomey General LISA
MADIGAN, moves this Honorable Court to continue the trial scheduled to begin on December 3,
2018 due to an unforeseen family emergency, and state as follows:

1. This matter is set for trial to commence on December 3, 2018_. Trial is scheduled

for the week of December 3, 2018 and then to continue the week of December 17, 2018.

2. Deputy Chief Fletcher is a key member of the trial team and seeks this

continuance on an emergency basis due to the unforeseen hospitalization of his wife and

early delivery of his baby, which was due`on January 12, 2019. Mr. Fletcher’s wife, Mrs.

Goldberg, will be induced into labor at Prentice Women’s Hospital this evening,

November 28, 2018. 1

3. The Affidavit of Christopher Ryan Fletcher, Deputy Chief of General Law, who

has been assigned to this case, is attached hereto as Exhibit A.

4. Defens'e counsel has contacted Plaintiffs’ counsel by telephone about the need to

file this Emergency Motion to Continue Trial, to which they do not agree.

 

 

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WHEREFORE, the State Defendants pray this Court enter an Order continuing this trial

until a date in January or February of 2019.

LISA MADIGAN
Attomey General of Illinois

 

Respectfully submitted,

s/Christopher Rvan F letcher
Christopher Ryan Fletcher
Deputy Chief

General Law Bureau

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CERTIFICATE OF SERVICE
The undersigned certifies that on November 28, 2018, he electronically filed the
foregoing document with the Clerk of the Court for the United States District'Court for the
Northern District of Illinois using the CM/ECF system. Participants in the case who are
registered CM/ECF users will be served by the CM/ECF system. -

/s/ Christopher Ryan F letcher

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THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
DON LIPPERT, et al., )
P1aimiff, § No. 10-cv-4603
v. 4 § Judge Jorge L. Alonso
JOHN BALDWIN, et al., §
, Defendants.' §

DECLARATION OF CHRISTOPHER FLETCHER

I, Christopher Fletcher, being first duly sworn upon oath, state that I have personal
knowledge of the facts set forth herein, that I arn competent to testify, and if called to testify
would state as follows:

l. My name is Christopher Fletcher and I am an attorney of record for the_Defendants in the above
case. I am also a key member of the trial team in this action. `

2. My wife was hospitalized at Prentice Women’s Hospital on November 19, 2018 and has
remained hospitalized since then. My wife was due to have our baby on January 12, 2019.
However, due to health complications, my wife will be induced this evening of November 28,
2018 and our baby is coming very early.

3. My wife and I were advised early this morning that she would be induced this aftemoon. As of
1 1:00 a.m. this moming, I was advised she will be induced this evening. I need to be present at
the hospital with my wife.

4. After our baby is delivered, I am advised that the baby will have to remain in the NICU at
Prentice Women’s Hospital for a few weeks. I do not know how long our baby will remain there _
in the NICU.

5. My wife’s hospitalization and the expected time for our baby in the NICU precludes me from
being ready for trial on Monday, December 3, 2018, The time I have spent since November 19,
2018, and the time I will spend in the hospital has precluded me from working on necessary final
preparations that need to be done right before trial.

6. l am asking for this continuance of trial due to these unforeseen and extraordinary circumstances
and am making this request in good faith and without the purpose of delay.

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Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed in the State of Illinois on November 28, 2018.

Dated: //"?5* ig

 

`Ehristopher Ryan F letcher
Deputy Chief of General Law
Office of the Illinois Attomey General

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